Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 1 of 10 PageID #: 18350




                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION



 IN RE: ETHICON, INC., PELVIC REPAIR
 SYSTEM PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2327



                                   (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −161)



 On February 7, 2012, the Panel transferred 36 civil action(s) to the United States District Court for
 the Southern District of West Virginia for coordinated or consolidated pretrial proceedings pursuant
 to 28 U.S.C. § 1407. See 844 F.Supp.2d 1359 (J.P.M.L. 2012). Since that time, 1,246 additional
 action(s) have been transferred to the Southern District of West Virginia. With the consent of that
 court, all such actions have been assigned to the Honorable Joseph R Goodwin.

 It appears that the action(s) on this conditional transfer order involve questions of fact that are
 common to the actions previously transferred to the Southern District of West Virginia and assigned
 to Judge Goodwin.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
 Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
 Southern District of West Virginia for the reasons stated in the order of February 7, 2012, and, with
 the consent of that court, assigned to the Honorable Joseph R Goodwin.

 This order does not become effective until it is filed in the Office of the Clerk of the United States
 District Court for the Southern District of West Virginia. The transmittal of this order to said Clerk
 shall be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk
 of the Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:



                                                       Jeffery N. Lüthi
       Mar 17, 2015                                    Clerk of the Panel
Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 2 of 10 PageID #: 18351




 IN RE: ETHICON, INC., PELVIC REPAIR
 SYSTEM PRODUCTS LIABILITY LITIGATION                                       MDL No. 2327



                    SCHEDULE CTO−161 − TAG−ALONG ACTIONS



   DIST      DIV.      C.A.NO.      CASE CAPTION


 TENNESSEE EASTERN

    TNE       2       15−00055      Nunn v. Johnson & Johnson, Inc. et al (JRG1)
    TNE       2       15−00056      Gray v. Johnson & Johnson, Inc. et al
    TNE       2       15−00057      Mayse et al v. Johnson & Johnson, Inc. et al (JRG2)
    TNE       2       15−00058      Roberson et al v. Johnson & Johnson, Inc. et al (JRG1)
                                                                           Page 1 of 4
    Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 3 of 10 PageID #: 18352


           Activity in Case MDL No. 2327 IN RE: Ethicon, Inc., Pelvic Repair System Products
           Liability Litigation CTO Final Minute Order (Clerks)
           JPMLCMECF
           to:
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           03/17/2015 08:15 AM
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                      United States Judicial Panel on Multidistrict Litigation

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Case Name:           IN RE: Ethicon, Inc., Pelvic Repair System Products Liability Litigation
Case Number:         MDL No. 2327
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***

MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-161)
Finalized on 3/17/15. Please see pleading ([1918] in MDL No. 2327, 4 in TNE/2:15-cv-
00055, 4 in TNE/2:15-cv-00056, 4 in TNE/2:15-cv-00057, 4 in TNE/2:15-cv-00058).

As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
an opportunity to oppose the transfer.
                                                                          Page 2 of 4
   Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 4 of 10 PageID #: 18353


The 7-day period has now elapsed, no opposition was received, and the order is
directed to the Clerk of the United States District Court for the S.D. West Virginia for
filing. The Panel governing statute, 28 U.S.C. 1407, requires that the transferee clerk
transmit a certified copy of the Panel order to transfer to the clerk of the district court
from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Mayse et al v. Johnson & Johnson, Inc. et al (JRG2)
Case Number:     TNE/2:15-cv-00057
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***

MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-161)
Finalized on 3/17/15. Please see pleading ( [1918] in MDL No. 2327, 4 in TNE/2:15-cv-
00055, 4 in TNE/2:15-cv-00056, 4 in TNE/2:15-cv-00057, 4 in TNE/2:15-cv-00058).

As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
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The 7-day period has now elapsed, no opposition was received, and the order is
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from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Roberson et al v. Johnson & Johnson, Inc. et al (JRG1)
Case Number:     TNE/2:15-cv-00058
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***

MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-161)
Finalized on 3/17/15. Please see pleading ( [1918] in MDL No. 2327, 4 in TNE/2:15-cv-
00055, 4 in TNE/2:15-cv-00056, 4 in TNE/2:15-cv-00057, 4 in TNE/2:15-cv-00058).
                                                                          Page 3 of 4
   Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 5 of 10 PageID #: 18354


As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
an opportunity to oppose the transfer.

The 7-day period has now elapsed, no opposition was received, and the order is
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filing. The Panel governing statute, 28 U.S.C. 1407, requires that the transferee clerk
transmit a certified copy of the Panel order to transfer to the clerk of the district court
from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Nunn v. Johnson & Johnson, Inc. et al (JRG1)
Case Number:     TNE/2:15-cv-00055
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***

MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-161)
Finalized on 3/17/15. Please see pleading ( [1918] in MDL No. 2327, 4 in TNE/2:15-cv-
00055, 4 in TNE/2:15-cv-00056, 4 in TNE/2:15-cv-00057, 4 in TNE/2:15-cv-00058).

As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
an opportunity to oppose the transfer.

The 7-day period has now elapsed, no opposition was received, and the order is
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filing. The Panel governing statute, 28 U.S.C. 1407, requires that the transferee clerk
transmit a certified copy of the Panel order to transfer to the clerk of the district court
from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Gray v. Johnson & Johnson, Inc. et al
Case Number:     TNE/2:15-cv-00056
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***
                                                                          Page 4 of 4
   Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 6 of 10 PageID #: 18355


MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-161)
Finalized on 3/17/15. Please see pleading ( [1918] in MDL No. 2327, 4 in TNE/2:15-cv-
00055, 4 in TNE/2:15-cv-00056, 4 in TNE/2:15-cv-00057, 4 in TNE/2:15-cv-00058).

As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
an opportunity to oppose the transfer.

The 7-day period has now elapsed, no opposition was received, and the order is
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filing. The Panel governing statute, 28 U.S.C. 1407, requires that the transferee clerk
transmit a certified copy of the Panel order to transfer to the clerk of the district court
from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

No public notice (electronic or otherwise) sent because the entry is private
                                                                           Page 1 of 4
    Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 7 of 10 PageID #: 18356


           Activity in Case MDL No. 2327 IN RE: Ethicon, Inc., Pelvic Repair System Products
           Liability Litigation Conditional Transfer Order Finalized
           JPMLCMECF
           to:
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Case Name:           IN RE: Ethicon, Inc., Pelvic Repair System Products Liability Litigation
Case Number:         MDL No. 2327
Filer:
Document Number: 1918

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-161) - 4 action(s) re: pldg. ([1904] in
MDL No. 2327, 2 in TNE/2:15-cv-00055, 2 in TNE/2:15-cv-00056, 2 in TNE/2:15-cv-00057, 2
in TNE/2:15-cv-00058) Inasmuch as no objection is pending at this time, the stay is lifted.
                                                                          Page 2 of 4
   Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 8 of 10 PageID #: 18357


Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Mayse et al v. Johnson & Johnson, Inc. et al (JRG2)
Case Number:     TNE/2:15-cv-00057
Filer:
Document Number: 4

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-161) - 4 action(s) re: pldg. ( [1904] in
MDL No. 2327, 2 in TNE/2:15-cv-00055, 2 in TNE/2:15-cv-00056, 2 in TNE/2:15-cv-00057, 2
in TNE/2:15-cv-00058) Inasmuch as no objection is pending at this time, the stay is lifted.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Roberson et al v. Johnson & Johnson, Inc. et al (JRG1)
Case Number:     TNE/2:15-cv-00058
Filer:
Document Number: 4

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-161) - 4 action(s) re: pldg. ( [1904] in
MDL No. 2327, 2 in TNE/2:15-cv-00055, 2 in TNE/2:15-cv-00056, 2 in TNE/2:15-cv-00057, 2
in TNE/2:15-cv-00058) Inasmuch as no objection is pending at this time, the stay is lifted.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)

Case Name:       Nunn v. Johnson & Johnson, Inc. et al (JRG1)
Case Number:     TNE/2:15-cv-00055
Filer:
Document Number: 4

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-161) - 4 action(s) re: pldg. ( [1904] in
MDL No. 2327, 2 in TNE/2:15-cv-00055, 2 in TNE/2:15-cv-00056, 2 in TNE/2:15-cv-00057, 2
in TNE/2:15-cv-00058) Inasmuch as no objection is pending at this time, the stay is lifted.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)
                                                                           Page 3 of 4
    Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 9 of 10 PageID #: 18358


Case Name:       Gray v. Johnson & Johnson, Inc. et al
Case Number:     TNE/2:15-cv-00056
Filer:
Document Number: 4

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-161) - 4 action(s) re: pldg. ( [1904] in
MDL No. 2327, 2 in TNE/2:15-cv-00055, 2 in TNE/2:15-cv-00056, 2 in TNE/2:15-cv-00057, 2
in TNE/2:15-cv-00058) Inasmuch as no objection is pending at this time, the stay is lifted.

Signed by Clerk of the Panel Jeffery N. Luthi on 3/17/2015.

Associated Cases: MDL No. 2327, TNE/2:15-cv-00055, TNE/2:15-cv-00056, TNE/2:15-cv-
00057, TNE/2:15-cv-00058 (dn)


MDL No. 2327 Notice has been electronically mailed to:

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TNE/2:15-cv-00057 Notice has been electronically mailed to:

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                                                                          Page 4 of 4
   Case 2:12-md-02327 Document 1497 Filed 03/17/15 Page 10 of 10 PageID #: 18359


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TNE/2:15-cv-00058 Notice will not be electronically mailed to:

TNE/2:15-cv-00055 Notice has been electronically mailed to:

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brandy.pitts@butlersnow.com, catherine.mason@butlersnow.com, ecf.notices@butlersnow.com,
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Robert Dwight Bates, II   rbates@tonyseaton.com

TNE/2:15-cv-00055 Notice will not be electronically mailed to:

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brandy.pitts@butlersnow.com, catherine.mason@butlersnow.com, ecf.notices@butlersnow.com,
kcrawford@riker.com, mkabbash@riker.com

Anthony A Seaton     tony@tonyseaton.com

Tracy G. Weiss     tweiss@reedsmith.com, cshayka@reedsmith.com

Robert Dwight Bates, II   rbates@tonyseaton.com

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6d60cb9f7fabf0ae1fd15b391e9a0b24105f409759785ce887c9bfb6dfb]]
